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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


MICHAEL FRUND, Individually, and on
behalf of himself and all others similarly            Civil Case Number: _________________
situated,

                       Plaintiff,                                 CIVIL ACTION

               -v-                                          CLASS COMPLAINT
                                                                  AND
                                                          DEMAND FOR JURY TRIAL
PORTFOLIO RECOVERY ASSOCIATES,
LLC and JOHN DOES 1-25,


                        Defendant.


       Plaintiff, MICHAEL FRUND (hereinafter, “Plaintiff”), a New Jersey resident, brings this

class action complaint by and through his attorneys, Marcus Law, LLC, against Defendant

PORTFOLIO RECOVERY ASSOCIATES, LLC (hereinafter “Defendant”), individually and on

behalf of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil

Procedure, based upon information and belief of Plaintiff’s counsel, except for allegations

specifically pertaining to Plaintiff, which are based upon Plaintiff’s personal knowledge.



                                    JURISDICTION AND VENUE

   1. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. §

       1692 et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction

       over the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

   2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).




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                                  NATURE OF THE ACTION

  3. Plaintiff brings this class action on behalf of a New Jersey class seeking redress for

     Defendant’s actions of using an unfair and unconscionable means to collect a debt.

  4. Defendants actions violated § 1692 et seq. of Title 15 of the United States Code,

     commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”).

  5. Plaintiff is seeking damages, and declaratory and injunctive relief.

                                              PARTIES

  6. Plaintiff is a natural person and a resident of the State of New Jersey, and is a

     “Consumer” as defined by 15 U.S.C. §1692(a)(3).

  7. Defendant is a collection agency that focuses on debt collection with its principal office

     located at 120 Corporate Boulevard, Norfolk, Virginia 23502.

  8. Upon information and belief, Defendant is a company that uses the mail, telephone, and

     facsimile and regularly engages in business the principal purpose of which is to attempt

     to collect debts alleged to be due another.

  9. Defendant is a “debt collector,” as defined under the FDCPA under 15 U.S.C. §

     1692a(6).

  10. John Does 1-25, are fictitious names of individuals and businesses alleged for the purpose

     of substituting names of Defendants whose identities will be disclosed in discovery and

     should be made parties to this action.

                                    CLASS ALLEGATIONS

  11. Plaintiff brings claims, pursuant to the Federal Rules of Civil Procedure (hereinafter

     “FRCP”) Rule 23, individually and on behalf of the following consumer class (the

     “Class”):




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                  All New Jersey consumers who received a collection letter from the Defendant

                   attempting to collect an obligation owed to or allegedly owed to HSBC Bank

                   Nevada N.A., that contain at least one of the alleged violations arising from

                   Defendant's violation of 15 U.S.C. §1692 et seq..

                  The Class period begins one year to the filing of this Action.

  12. The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a class

     action:

                   Upon information and belief, the Class is so numerous that joinder of all

                    members is impracticable because there are hundreds and/or thousands of

                    persons who have received debt collection letters and/or notices from the

                    Defendant that violate specific provisions of the FDCPA. Plaintiff is

                    complaining of a standard form letter and/or notice that is sent to hundreds of

                    persons (See Exhibit A, except that the undersigned attorney has, in

                    accordance with Fed. R. Civ. P. 5.2 partially redacted the financial account

                    numbers in an effort to protect Plaintiff’s privacy);

                   There are questions of law and fact which are common to the Class and which

                    predominate over questions affecting any individual Class member. These

                    common questions of law and fact include, without limitation:

                        a.      Whether Defendant violated various provisions of the FDCPA;

                        b.      Whether Plaintiff and the Class have been injured by Defendant’s

                                conduct;

                        c.      Whether Plaintiff and the Class have sustained damages and are

                                entitled to restitution as a result of Defendant’s wrongdoing and if



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                          so, what is the proper measure and appropriate statutory formula to

                          be applied in determining such damages and restitution; and

                  d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                          injunctive relief.

              Plaintiff’s claims are typical of the Class, which all arise from the same

               operative facts and are based on the same legal theories.

              Plaintiff has no interest adverse or antagonistic to the interest of the other

               members of the Class.

              Plaintiff will fairly and adequately protect the interest of the Class and has

               retained experienced and competent attorneys to represent the Class.

              A Class Action is superior to other methods for the fair and efficient

               adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

               difficulties are likely to be encountered in the management of this class action.

              A Class Action will permit large numbers of similarly situated persons to

               prosecute their common claims in a single forum simultaneously and without

               the duplication of effort and expense that numerous individual actions would

               engender. Class treatment will also permit the adjudication of relatively small

               claims by many Class members who could not otherwise afford to seek legal

               redress for the wrongs complained of herein. Absent a Class Action, class

               members will continue to suffer losses of statutory protected rights as well as

               monetary damages. If Defendant’s conduct is allowed to proceed without

               remedy they will continue to reap and retain the proceeds of their ill-gotten

               gains.



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                Defendant has acted on grounds generally applicable to the entire Class,

                 thereby making appropriate final injunctive relief or corresponding

                 declaratory relief with respect to the Class as a whole.


                                ALLEGATIONS OF FACT


  13. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     numbered “1” through “12” herein with the same force and effect as if the same were set

     forth at length herein.

  14. Some time prior to March 18, 2015, an obligation was allegedly incurred to the original

     creditor HSBC Bank Nevada N.A. (“HSBC”)

  15. The HSBC obligation arose out of a transaction in which money, property, insurance or

     services, which are the subject of the transaction, are primarily for personal, family or

     household purposes.

  16. The alleged HSBC obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

  17. HSBC is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

  18. Defendant contends that the HSBC debt is past due.

  19. Some point prior to March 18, 2015, the HSBC debt was sold, consigned, or otherwise

     transferred to the Defendant for collections.

  20. Defendant collects and attempts to collect debts incurred or alleged to have been incurred

     for personal, family or household purposes on behalf of creditors using the United States

     Postal Services, telephone and Internet.

  21. Sometime prior to the March 18, 2015, Plaintiff became aware that Defendant was

     attempting to collect an alleged HSBC debt from the Plaintiff.




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  22. Sometime prior to March 18, 2015, the Plaintiff notified the Defendant in writing that he

      did not believe he owed this debt and requested verification.

  23. On or about March 18, 2015, the Defendant caused to be delivered to the Plaintiff a letter

      in an attempt to collect the alleged debt and in response to said dispute. See Exhibit A.

  24. The March 18, 2105 letter was sent or caused to be sent by persons employed by

      Defendant as a “debt collector” as defined by 15 U.S.C. §1692a(6).

  25. The March 18, 2015 letter is a “communication” as defined by 15 U.S.C. §1692a(2).

  26. Said letter stated in part:

              “If you wish to dispute this account, please send written documentation describing

              the nature of your dispute and any information or materials that may be helpful to

              our investigation so this dispute may be investigated in a timely manner.”

              “If you wish to provide additional information regarding this account, please send

              written documentation. Please note that if we receive no information or

              documentation describing the details of your dispute by April 7, 2015, we may

              then terminate the investigation related to this account due to lack of clarification

              of the nature of the dispute.”

  27. As part of the Defendant’s March 18, 2015 letter, there was attached a document stated:

              “PORTFOLIO RECOVERY ASSOCIATES, LLC INSTRUCTIONS FOR

               FILING A DISPUTE RELATED TO IDENTITY THEFT/FRAUD.

              To dispute an account due to issues related to fraud/identity theft, our company

              generally requires all customers to submit documentation for review as part of our

              company’s investigation.”

      See Exhibit B.




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  28. Said letter further requires the Plaintiff to provide an official copy of an Identity Theft

     Report OR make a written statement including a letter from credit reporting agency,

     creditor or other agency referencing a prior identity theft investigation related to this

     account, CA Office of Privacy Protection Information Sheet, a Customer’s Statement

     signed certified notarized statement, along with other supporting documentation.

  29. Also attached to the Defendant’s March 18, 2015 letter was a document stated “Portfolio

     Recovery Associates, LLC Identity Theft Affidavit.” See Exhibit C.

  30. Said document contained twenty six items for the Plaintiff to answer along with a

     signature section that needs to be notarized with the following language:

              “I understand that knowingly making any false or fraudulent statements or

             representations may constitute a violation of federal, state, or local criminal

             statutes, and may result in the imposition of fine, imprisonment, or both forms of

             punishment.”

  31. Pursuant to the FDCPA, if a consumer notifies a debt collector of their dispute, the debt

     collector must cease all collection efforts until the debt collector obtains verification.

  32. The FDCPA does not require a consumer to provide any additional information to trigger

     the debt collector’s requirement to obtain verification, let alone require a consumer to fill

     out a twenty six point Theft Affidavit signed with a certification statement.

  33. Such requirements unfairly make the consumer’s ability to dispute said debt overly

     burdensome.

  34. Defendant’s actions as described herein are part of a pattern and practice used to collect

     consumer debts.

  35. Defendant could have taken the steps necessary to bring its actions within compliance




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     with the FDCPA, but neglected to do so and failed to adequately review its actions to

     ensure compliance with the law.

                                               COUNT I

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. §1692e et seq.

  36. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     numbered “1” through “35” herein with the same force and effect as if the same were set

     forth at length herein.

  37. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

     violated various provisions of the FDCPA, including but not limited to 15 U.S.C. §

     1692e.

  38. Pursuant to 15 U.S.C. §1692e(10), a debt collector may not use any false representation

     or deceptive means to collect or attempt to collect any debt.

  39. Defendant violated said section by falsely representing that the consumer must fill out a

     fraud affidavit in order to properly dispute said debt as identity theft.

  40. Pursuant to 15 U.S.C. §1692e(5), a debt collector may not threaten to take any action that

     cannot legally be taken.

  41. The Defendant violated said section by threatening to terminate the consumers dispute

     and continue collection efforts if the consumer does not provide additional documents by

     April 7, 2015.

  42. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's conduct

     violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

     and attorneys’ fees.




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                                         COUNT II

       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. §1692f et seq.

  43. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     numbered “1” through “42” herein with the same force and effect as if the same were set

     forth at length herein.

  44. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

     violated various provisions of the FDCPA, including but not limited to 15 U.S.C. §

     1692f.

  45. The Defendant violated said section by unfairly making the consumers right to dispute

     the alleged debt overly burdensome.

  46. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's conduct

     violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs

     and attorneys’ fees.


                                         COUNT III

       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. §1692g et seq.

  47. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     numbered “1” through “46” herein with the same force and effect as if the same were set

     forth at length herein.

  48. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

     violated various provisions of the FDCPA, including but not limited to 15 U.S.C. §

     1692(g).

  49. Pursuant to 15 U.S.C. § 1692g(b), if a consumer notifies the debt collector in writing that



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       debt is disputed, the debt collector must cease all collection efforts until they can properly

       obtain verification.

   50. The Defendant violated said section by not accepting the consumer’s dispute unless the

       consumer fills out cumbersome fraud affidavit.

   51. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's conduct

       violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

       and attorneys’ fees.



                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)    Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative, and Ari Marcus, Esq., as Class Counsel;

               (b)    Awarding Plaintiff and the Class statutory damages;

               (c)    Awarding Plaintiff and the Class actual damages;

               (d)    Awarding Plaintiff costs of this Action, including reasonable attorneys’

fees and expenses;

               (e)    Awarding pre-judgment interest and post-judgment interest; and

               (f)    Awarding Plaintiff and the Class such other and further relief as this Court

may deem just and proper.


Dated: May 4, 2015                            /s/ Ari Marcus
                                              Ari Marcus, Esq.
                                              MARCUS LAW, LLC
                                              1500 Allaire Avenue, Suite 101
                                              Ocean, New Jersey 07712
                                              (732) 695-3282 telephone
                                              (732) 298-6256 facsimile


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                                             Attorneys for Plaintiff


                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.


Dated: May 4, 2015                           /s/ Ari Marcus
                                             Ari Marcus, Esq.


                        CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, Ari H. Marcus, the undersigned attorney of record for Plaintiff, do hereby certify to my

own knowledge and based upon information available to me at my office, the matter in

controversy is not the subject of any other action now pending in any court or in any arbitration

or administrative proceeding.



Dated: May 4, 2015                           /s/ Ari Marcus
                                             Ari Marcus, Esq.




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